EXHIBIT A
10.005 Prohibition of Discrimination in University Training or Instruction

    (1) Definitions. For purposes of this regulation, the enumerated terms are defined as
follows:
        (a) “Concepts” are the following:
             1. Members of one race, color, national origin, or sex are morally superior to
                 members of another race, color, national origin, or sex.
             2. A person, by virtue of his or her race, color, national origin, or sex is
                 inherently racist, sexist, or oppressive, whether consciously or
                 unconsciously.
             3. A person's moral character or status as either privileged or oppressed is
                 necessarily determined by his or her race, color, national origin, or sex.
             4. Members of one race, color, national origin, or sex cannot and should not
                 attempt to treat others without respect to race, color, national origin, or
                 sex.
             5. A person, by virtue of his or her race, color, national origin, or sex bears
                 responsibility for, or should be discriminated against or receive adverse
                 treatment because of, actions committed in the past by other members of
                 the same race, color, national origin, or sex.
             6. A person, by virtue of his or her race, color, national origin, or sex should
                 be discriminated against or receive adverse treatment to achieve
                 diversity, equity, or inclusion.
             7. A person, by virtue of his or her race, color, sex, or national origin, bears
                 personal responsibility for and must feel guilt, anguish, or other forms of
                 psychological distress because of actions, in which the person played no
                 part, committed in the past by other members of the same race, color,
                 national origin, or sex.
             8. Such virtues as merit, excellence, hard work, fairness, neutrality,
                 objectivity, and racial colorblindness are racist or sexist, or were created
                 by members of a particular race, color, national origin, or sex to oppress
                 members of another race, color, national origin, or sex.
        (b) “Training” is defined as a planned and organized activity conducted by the
            university as a mandatory condition of employment, enrollment, or
            participation in a university program for the purpose of imparting
            knowledge, developing skills or competencies, or becoming proficient in a
            particular job or role.
        (c) “Instruction” is defined as the process of teaching or engaging students with
            content about a particular subject by a university employee or a person
            authorized to provide instruction by the university within a course.
        (d) “Substantiate” is defined as establishing the existence or truth of a particular
            fact through the use of competent evidence.
        (e) “University regulation” is defined as the regulation required by section (2)(a)
            below.
   (f) “Administrator” means the following high level personnel who have been
       assigned the responsibilities of university-wide academic or administrative
       functions: university president, provost, senior/executive vice presidents,
       vice presidents, associate vice presidents, associate/vice provosts, deans,
       equal opportunity programs director, chief audit executive, and chief
       compliance officer.

(2) University Regulation and Content Review
    (a) Each university shall have a university regulation that prohibits
        discrimination on the basis of race, color, national origin, or sex by subjecting
        any student or employee to training or instruction that espouses, promotes,
        advances, inculcates, or compels such student or employee to believe any of
        the concepts as defined in paragraph (1)(a). Such university regulation shall
        contain a method for submitting complaints of alleged violations of the
        university regulation and the title and contact information of the office(s)
        designated by the university to receive and maintain such complaints.
    (b) The university regulation shall include that the prohibition in section (2)(a)
        does not prohibit discussion of the concepts as part of a larger course of
        training or instruction, provided such training or instruction is given in an
        objective manner without endorsement of the concepts.
    (c) Each university shall post the university regulation on a public website where
        the university commonly publishes regulations.
    (d) Each university shall periodically review its regulations, policies and
        institutional training materials to ensure that the content does not violate the
        university regulation.

(3) University Investigation and Corrective Action
    (a) Each administrator who receives a complaint of an alleged violation of the
        university regulation shall timely forward such complaint to the office(s)
        designated to receive such complaints.
    (b) After reviewing the complaint and obtaining any additional information to
        aid in the review, the designated office shall direct, supervise, or coordinate
        the investigation of credible complaints that identify a training or instruction
        that espouses, promotes, advances, inculcates, or compels a student or
        employee to believe any of the concepts.
    (c) In the event the investigation finds that an instruction or training is
        inconsistent with the university regulation, the university shall inform the
        Board of Governors through the Office of Inspector General and take prompt
        action to correct the violation by mandating that the employee(s) responsible
        for the instruction or training modify it to be consistent with the university
        regulation, issuing disciplinary measures where appropriate and remove, by
       termination if appropriate, the employee(s) if there is a failure or refusal to
       comply with the mandate.
   (d) If the Board of Governors receives a complaint about which it has not been
       previously informed pursuant paragraph 3(c), it shall refer the complaint to
       the subject university’s Chief Audit Executive to be addressed pursuant
       paragraphs 3(a)-(c).

(4) Proceedings to Determine a Substantiated Institutional Violation
    (a) Upon receipt of a credible allegation that a university willfully and
        knowingly failed to correct a violation of the university regulation, the Board
        of Governors’ Office of Inspector General shall conduct an investigation to
        determine if evidence exists to support the allegation and ineligibility for
        performance funding. In determining whether a university willfully and
        knowingly failed to correct a violation, the Office of Inspector General shall
        consider whether the university made a good faith determination that the
        complaint did not allege a violation of the university regulation or whether it
        took prompt corrective action after it substantiated a violation of the
        university regulation. If it is determined an external qualified investigative
        firm is necessary to assist with or conduct the investigation, the subject
        university will be responsible for any costs incurred.
    (b) The Inspector General shall submit the investigatory findings to the Chair of
        the university’s Board of Trustees, or the Chair’s designee, which shall have
        twenty (20) business days to submit a written response after receipt of such
        findings. The Office of Inspector General shall provide a rebuttal, if any, to
        the university within twenty (20) business days after receipt of the
        university’s response. The university’s response and the Office of Inspector
        General’s rebuttal to the response, if any, shall be included in a final
        investigative report provided to the Board of Governor’s Audit and
        Compliance Committee and the Chair of the university’s Board of Trustees.
    (c) The Board of Governor’s Audit and Compliance Committee shall make a
        recommendation to the Board as to whether it should substantiate an
        allegation that a university willfully and knowingly failed to correct a
        violation of the university regulation. The Board shall review the
        investigative report and recommendation and make a final decision
        regarding whether the alleged willful and knowing failure to correct a
        violation of the university regulation is substantiated. Such decision will be
        rendered in writing to the university within twenty (20) business days of the
        meeting at which the report is considered.
    (d) If the Board of Governors determines that a university willfully and
        knowingly engaged in conduct at the institutional level that constituted a
        substantiated violation of section 1000.05(4)(a), Florida Statutes, and failed to
        take appropriate corrective action, the university will be ineligible for
          performance funding for the next fiscal year following the year in which the
          Board of Governors made the determination.

   (5) Additional Proceedings.
   A university or the complainant may seek judicial review by filing a petition for writ
   of certiorari review with the appropriate circuit court within thirty (30) days of the
   date of the Board’s final decision pursuant to Florida Rule of Appellate Procedure
   9.190(b)(3).

Authority: Section 7(d), art. IX, Fla. Const.; Section 1000.05, Florida Statutes; Section
1001.92, Florida Statutes; History: New 08-26-22.
